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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )     Case No. 21-cr-00378-TJK
                                   )
ARTHUR JACKMAN, et al.,            )
                                   )
                                   )
                  Defendant        )
                                   )




     DEFENDANT PAUL RAE’S MOTION TO SUBSTITUTE COUNSEL AND
                     CONTINUE SENTENCING



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      COMES NOW Defendant Paul Rae, by and through undersigned counsel

William L. Shipley, and respectfully files this Motion to Substitute Counsel and

Continue Sentencing.

      On August 28, 2024, Defendant Rae entered a guilty plea pursuant to a

written Plea Agreement reached with the Government. See ECF No. 204. At

the conclusion of the hearing, a Sentencing hearing was set for December 6,

2024, with Sentencing Memoranda to be filed by November 27, 2024.

      On November 23, 2024, Defendant Rae contacted the undersigned

counsel with a request that he enter the case on Defendant Rae’s behalf as

counsel of record. Undersigned counsel and Defendant Rae have previously

consulted with regard to this case going as far back as November 2021 when

Mr. Rae was represented by Attorney John Pierce. Defendant Rae, along with

co-Defendants Nathaniel Tuck and Kevin Tuck all approached Mr. Pierce

regarding representation, and the undersigned counsel agreed to work with Mr.

Pierce in representing the Tucks while Mr. Pierce represented Defendant Rae.

      Undersigned counsel explained to Defendant Rae the issues involving

representation of multiple defendants in a criminal case, and that there was a

potential for a conflict of interest between himself as well as the other

defendants in his case who are also represented by undersigned counsel.

Defendant Rae stated that he understood the possible conflict of interest, is

willing to waive his right to conflict-free counsel and is prepared to sign a

written waiver and answer any questions by the Court as part of an on-the-

record colloquy required for such a waiver.
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      After the communications with Defendant Rae about this motion,

Undersigned counsel contacted Defendants Kevin and Nathaniel Tuck to

inquire whether they had any objection. It was explained to them the potential

for a conflict of interest given that Defendant Rae is a co-defendant in their

case. The issue of a potential conflict of interest arising from multiple

representation by one attorney is a subject understood by them as it was the

subject of a waiver and inquiry by the Court in order to allow the Undersigned

to represent both of them in the same case. They are both willing to submit

written waivers of any potential conflicts of interest with respect to Paul Rae,

and are willing to appear via video to answer any questions the Court may have

of them.

      Defendants Kevin and Nathan Tuck are both set to be sentenced by this

Court on January 8, 2025, with Sentencing Memoranda due January 2, 2025.

      Defendant Rae requests that he be allowed to substitute counsel, that

the Undersigned be allowed to enter an appearance on his behalf, and that his

sentencing hearing be continued to January 8, 2025, the same date as the

sentencing hearing of his co-Defendants.



Dated: November 26, 2024                    Respectfully submitted,

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